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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
OLIVIA PESCATORE, et al.,           )
                                    )
            Plaintiffs,             )
                                    )
      v.                            )    Civil Action No. 08-2245 (TJK)
                                    )
JUVENAL OVIDIO RICARDO              )
PALMERA PINEDA, et al.,             )
                                    )
            Defendants.             )
____________________________________)

                                       Joint Status Report

        Pursuant to the Court’s order on February 4, 2020, the parties hereby report as follows.

As noted in previous Joint Status Reports, on April 30, 2020, the U.S. District Court for the

Southern District of Florida entered two Orders Adopting Report and Recommendation

addressing a number of the parties’ pending motions. See Stansell v. Revolutionary Armed

Forces of Columbia, Case No. 1:19-cv-20896-RNS (S.D. Fla. ECF Nos. 339 & 340). On May 6,

2020, Samark Jose López Bello and Yakima Trading Corp. (“López Bello”) filed a notice of

appeal of these orders. On July 28, 2020, López Bello filed an amended notice of appeal to

address additional court orders that are related to the proceedings in Florida. On August 11,

2020, López Bello filed an opening brief on the Eleventh Circuit appeal. The Eleventh Circuit

Court of Appeals heard oral argument on all of the pending appeals before the Court on February

9, 2022. Because the appeal is still an open unresolved matter, and there are still other open

unresolved matters, including an active case involving these same parties pending in the

Southern District of New York, Civ. No. 18-545, the parties hereby request this Court continue

its stay.
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Respectfully submitted,                          Date: June 1, 2022

 /s/ Nathaniel A. Tarnor                            /s/ Matthew D. Osnos, Esquire
 (D.C. Bar No. 985457)                              U.S. District Court Bar No. 371930
 Hagens Berman Sobol Shapiro, LLP                   O’Malley, Miles, Nylen & Gilmore, P.A.
 322 8th Avenue, Suite 802                          7850 Walker Dr., Ste. 310
 New York, NY 10001                                 Greenbelt, MD 20770
 Telephone: (646) 543-4992                          301-572-3238
 Email: NathanT@hbsslaw.com                         mosnos@omng.com
 Counsel for the Pescatore Plaintiffs               Attorneys for Samark Jose López Bello and
                                                    Yakima Trading Corp.



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 1, 2022, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system. I further certify that I served the foregoing

document by electronic mail to the following persons:


OFFICE OF FOREIGN ASSETS CONTROL
U.S. Department of the Treasury
1500 Pennsylvania Ave. NW
Washington D.C. 20220
[by email service directly to OFAC counsel in compliance with 31 C.F.R. § 501.605]

                                                             /s/ Nathaniel A. Tarnor
                                                             (D.C. Bar No. 985457)
                                                             Hagens Berman Sobol Shapiro, LLP
                                                             322 8th Avenue, Suite 802
                                                             New York, NY 10001
                                                             Telephone: (646) 543-4992
                                                             Email: NathanT@hbsslaw.com

                                                             Counsel for the Pescatore Plaintiffs




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